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             EXHIBIT 3
                 Case 1:19-cv-00384-ELH Document 147-3 Filed 02/18/21 Page 2 of 9



From:                Amelia Green <amelia@nsbcivilrights.com>
Sent:                Monday, February 8, 2021 7:20 PM
To:                  Shiff, Wendy
Cc:                  Avi Kamionski; nick; Anisha Queen; Yasmin Dagne; Jahne Brown; Anna Benvenutti
                     Hoffmann; Jean M. Zachariasiewicz; Natalie Amato; Kara Lynch; Shneur Nathan;
                     Theresa Concepcion; Matthew Mc Carter; Jasmine England-Caesar
Subject:             Re: Deposition of Lauren Lipscomb--Estate of Bryant
Attachments:         Bryant_DE 81 Informal Discovery Dispute Procedure.pdf



SECURITY ALERT: This email is from an external source.

Hi Wendy,
In follow‐up to our conversation earlier today, Plaintiff is not willing to limit Ms. Lipscomb's deposition to 3.5 hours (1
hour and 45 minutes per side) and waive the ability to use any additional time for questioning. Ms. Lipscomb is a key
witness in this case and the presumption under the federal rules is 7 hours (which will need to be split among the
parties). It is very hard to predict in advance how long a deposition will take and how long a deposition lasts often
depends on the witness' memory and preparedness, which we will not know until the day of the deposition (for
example, if we need to show Ms. Lipscomb several documents to refresh her recollection that may extend the
questioning in a manner we cannot predict in advance). I also cannot predict what follow up questioning may be needed
in light of defendants' questioning. As I noted on the call today, Plaintiff's counsel would be willing to schedule the
deposition for a half day initially to try and complete the deposition in that time and, only if necessary, schedule a
second deposition day if more time is needed. We are also willing to schedule the deposition in a manner that
accommodates any childcare concerns‐‐such as over the course of multiple days or during hours most convenient for
Ms. Lipscomb. I understand, however, it is your client's position that you are not willing to have the deposition go
beyond a single day (rather than splitting the deposition over 2 days to accomodate a more flexible schedule) and also
that you will not go forward with the deposition unless we agree to limit the time on the record in advance. In light of all
of this, I suggest bringing the dispute to the court for resolution this week. Attached is Judge Boardman's order in this
case regarding informal resolution of discovery disputes. Although Ms. Lipscomb is a third party, I suggest we follow this
procedure (1‐page joint letter to the court followed by 2‐page brief from each side within 24 hours), but let me know if
anyone disagrees.
Thanks,
Amelia



On Wed, Feb 3, 2021 at 11:22 AM Amelia Green <amelia@nsbcivilrights.com> wrote:
 Sure, we can use the below conference line for our call Monday at 3pm ET.

 Dial-in number: 917-781-0813 Extension number: 1045 Guest pin: 0123

 On Wed, Feb 3, 2021 at 11:21 AM Shiff, Wendy <wshiff@oag.state.md.us> wrote:

  Monday at 3 p.m. is good.

  Amelia—do you want to set up the conference call? Thanks.



                                                             1
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Wendy L. Shiff

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Civil Litigation Division

Office of Attorney General

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From: Avi Kamionski <akamionski@nklawllp.com>
Sent: Wednesday, February 3, 2021 11:17 AM
To: Amelia Green <amelia@nsbcivilrights.com>
Cc: Shiff, Wendy <wshiff@oag.state.md.us>; Nick Brustin <nick@nsbcivilrights.com>; Anisha Queen
<aqueen@browngold.com>; Yasmin Dagne <yasmin@nsbcivilrights.com>; Jahne Brown <jahne@nsbcivilrights.com>;
Anna Benvenutti Hoffmann <anna@nsbcivilrights.com>; Jean M. Zachariasiewicz <jmz@browngold.com>; Natalie
Amato <Natalie.Amato@baltimorecity.gov>; Kara Lynch <kara.lynch@baltimorepolice.org>; Shneur Nathan
<snathan@nklawllp.com>; Theresa Concepcion <tconcepcion@nklawllp.com>; Matthew Mc Carter
<Mmccarter@nklawllp.com>; Jasmine England‐Caesar <jasmine@nklawllp.com>
Subject: Re: Deposition of Lauren Lipscomb‐‐Estate of Bryant



I have a deposition tomorrow, but Monday at 3pm EST works for me.




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Avi T. Kamionski
Nathan & Kamionski LLP

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the intended recipient(s). Any unauthorized use or disclosure of this communication is prohibited. If you believe that
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        On Feb 3, 2021, at 6:08 PM, Amelia Green <amelia@nsbcivilrights.com> wrote:



        Hi Wendy, I am available anytime tomorrow before 12:30pm and also anytime on Monday. Counsel
        for individual defendants ‐‐ what works for you?



        On Wed, Feb 3, 2021 at 10:08 AM Shiff, Wendy <wshiff@oag.state.md.us> wrote:

         Hi Amelia,

         I appreciate your prompt response.

         I have raised this issue previously. I apologize that you were not included in those email.

         I had hoped to resolve this issue without court intervention, but I inferred from your prior email that
         we could not.

         I am happy to discuss with you before filing my motion. I am available tomorrow until 2:00 p.m.

         I am also available all day Monday. Please let me know your preference.

         Thank you,

         Wendy



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Wendy L. Shiff

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From: Amelia Green <amelia@nsbcivilrights.com>
Sent: Wednesday, February 3, 2021 10:02 AM
To: Shiff, Wendy <wshiff@oag.state.md.us>
Cc: Nick Brustin <nick@nsbcivilrights.com>; Avi Kamionski <akamionski@nklawllp.com>; Anisha
Queen <aqueen@browngold.com>; Yasmin Dagne <yasmin@nsbcivilrights.com>; Jahne Brown
<jahne@nsbcivilrights.com>; Anna Benvenutti Hoffmann <anna@nsbcivilrights.com>; Jean M.
Zachariasiewicz <jmz@browngold.com>; Natalie Amato <Natalie.Amato@baltimorecity.gov>; Kara
Lynch <kara.lynch@baltimorepolice.org>
Subject: Re: Deposition of Lauren Lipscomb‐‐Estate of Bryant



Hi Wendy ‐‐ I recognize I may have been inadvertently left off of prior email chains on this deposition,
but this is the first time that I am being made aware of you raising these specific concerns regarding
the deposition. It is my understanding we are obligated to meet and confer before bringing a dispute
of this nature to the court. It probably makes sense to have a meet and confer call, including counsel


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for all parties, to discuss? I think there are a variety of potential solutions to accommodate some of
the concerns you raise.

Thanks,
Amelia



On Wed, Feb 3, 2021 at 9:53 AM Shiff, Wendy <wshiff@oag.state.md.us> wrote:

 Hi Amelia,

 Thanks for your response.

 Unfortunately, I have obligations for all or part of each of those days that cannot be moved.

 Also, Ms. Lipscomb has scheduling issues related to her children’s school schedules that create
 difficulties in scheduling a 7 hour deposition.

 As you know, a 7 hour deposition requires reserving 8‐10 hours (since breaks are not included in the
 time).

 Since we are unable to resolve the dispute, we will seek a protective order from Judge Boardman
 asking her to limit the time of the deposition.

 Our reasons will be based on necessity, scheduling issues and the demand on Ms. Lipscomb’s time
 due to the multiple requests for her depositions in these cases (I know you are not handling all of
 them, but every minute Ms. Lipscomb spends in deposition, she is not able to do her job).

 Once the court resolves this issue, we will reschedule.

 I anticipate filing the Motion for Protective Order no later than Monday.

 Wendy




 Wendy L. Shiff

 Assistant Attorney General

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From: Amelia Green <amelia@nsbcivilrights.com>
Sent: Tuesday, February 2, 2021 7:36 PM
To: Shiff, Wendy <wshiff@oag.state.md.us>
Cc: Nick Brustin <nick@nsbcivilrights.com>; Avi Kamionski <akamionski@nklawllp.com>; Anisha
Queen <aqueen@browngold.com>; Yasmin Dagne <yasmin@nsbcivilrights.com>; Jahne Brown
<jahne@nsbcivilrights.com>; Anna Benvenutti Hoffmann <anna@nsbcivilrights.com>; Jean M.
Zachariasiewicz <jmz@browngold.com>; Natalie Amato <Natalie.Amato@baltimorecity.gov>; Kara
Lynch <kara.lynch@baltimorepolice.org>
Subject: Re: Deposition of Lauren Lipscomb‐‐Estate of Bryant



Hi Wendy,

From plaintiff's side, I am available for rescheduling the deposition on any of the following dates this
month: Feb 18, 19, 24, 25, or 26



Ms. Shiff, please note that we will need to pick a date where Ms. Lipscomb is available to sit for a
full day of questioning (although its possible, and even likely, the deposition will not go the entire
day), as both sides have questioning for Ms. Lipscomb.



On Mon, Feb 1, 2021 at 3:06 PM Shiff, Wendy <wshiff@oag.state.md.us> wrote:


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     Counsel—

     For multiple reasons, including a change to Ms. Lipscomb’s child’s school schedule, we need to
     reschedule her deposition.

     I apologize for the inconvenience.

     Please let me know your availability and I will check with her for a new date.

     Thank you,

     Wendy




                                                                                                                                                                            Wendy L. Shiff
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 ‐‐

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                Case 1:19-cv-00384-ELH Document 147-3 Filed 02/18/21 Page 9 of 9
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